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             Attorneys for Petitioner
         6   Bayside Advisory LLC
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         8                                    UNITED STATES DISTRICT COURT

         9                                 NORTHERN DISTRICT OF CALIFORNIA

        10                                         SAN FRANCISCO DIVISION

                                                    CV 8                         8 0 2 141:ISC
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        11                                                          ASEN;,·;,�
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                                                                   BAYSIDE ADVISORY LLC'S REQUEST
        13   IN RE DMCA § 512(h)                                   TO THE CLERK FOR THE ISSUANCE OF
             SUBPOENA TO TWITTER, INC.                             A SUBPOENA TO TWITTER, INC.
"-

-
        14                                                         PURSUANT TO 17 U.S.C. § 512(h) TO
                                                                   IDENTIFY ALLEGED INFRINGER
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                     Bayside Advisory LLC ( "Bayside"), by and through its undersigned counsel of record,
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             hereby requests that the Clerk of this Court issue a subpoena to Twitter, Inc. ("Twitter") to identify
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             an alleged infringer or infringers, pursuant to the Digital Millennium Copyright Act ("DMCA"), 17
        20
             U.S.C. § 512(h) (the "Subpoena"). A copy of the proposed Subpoena is attached as Exhibit 2 to the
        21
             Declaration of Robert E. Allen ("Allen Deel.").
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                     The requested Subpoena relates to infringing materials that Bayside discovered on the
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             websites <twitter.com> and <pbs.twimg.com>, which Bayside is informed and believes are operated
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             by Twitter. The infringing materials include unauthorized copies of copyrighted photographs, which
        25
             are owned solely and exclusively by Bayside. Bayside registered the photographs with the United

             States Copyright Office on November 2, 2020 (Registration No. VA 2-221-602 and Registration
             No. VA 2-?,21-604).
        28            .:'!.>


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     REQulsT FOR THE ISSUANCE OF SUBPOENA UNDER 17 u.s.c. s12(H)                                         CASE NO.:
     1933530  i,
                   Case 4:20-mc-80214-DMR Document 1 Filed 11/25/20 Page 2 of 2




                        Bayside has satisfied the requirements for issuance of a subpoena pursuant to 17 U.S.C. §
            2 512(h), namely:
            3           1.      Bayside has submitted a copy of the notifications required by 17 U.S.C. §
            4                   512(c)(3)(A). See Allen Deel. ,i 3, Ex. 1.
            5           2.      Bayside has submitted the proposed Subpoena concurrently herewith. See Allen
            6                   Deel. ,i 5, Ex. 2.
            7           3.      Bayside has submitted a sworn declaration confirming the purpose for which the
            8                   Subpoena is sought is to obtain the identity of the alleged infringer or infringers, and
            9                   that such information will only be used for the purpose of protecting rights under
           10                   Title 17 of the United States Code. See Allen Deel. ,i 4.
           11           Because Bayside has complied with the statutory requirements, Bayside respectfully requests

·-         12   that the Clerk expeditiously issue and sign the proposed Subpoena pursuant to 17 U.S.C. § 512(h)(4)
           13   and return it to the undersigned counsel for service on Twitter.
li,,_      14

           15    DATED: November 25, 2020                         GLASER WEIL FINK HOWARD
                                                                   AVCHEN & SHAPIRO LLP
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                                                                      ROBERT E. ALLEN
                                                                      Attorneys for Petitioner
                                                                      Bayside Advisory LLC
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        REQUEST FOR THE ISSUANCE OF SUBPOENA UNDER 17 U.S.C. 5l2(H)
        1933530
